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                                                IN THE DISTRICT COURT IN AND FOR
                                                THE MIDDLE DISTRICT OF FLORIDA
                                                JACKSONVILLE DIVISION

                                                CASE NO. 3:10-cv-00919-HES-JRK

  MECHELL THOMPSON,

         Plaintiff,

  v.

  DELANOR, KEMPER & ASSOCIATES, LLC,
  a corporation, FRANK WATSON, an individual,
  and WILTON CAVER, an individual,

        Defendant.
  _____________________________________/

                                NOTICE OF SETTLEMENT

         NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the

  District Court of the Middle District of Florida, Plaintiff’s Notice of Settlement. Plaintiff

  hereby respectfully request that this Court allow sixty (60) days within which to complete

  the settlement and to file a Dismissal in this matter. This Court shall retain jurisdiction

  over this matter until fully resolved.



                                                     Respectfully submitted,
                                                     MECHELL THOMPSON


                                                     By: s/ Alex Weisberg
                                                     ALEX D. WEISBERG
                                                     FBN: 0566551
                                                     WEISBERG & MEYERS, LLC
                                                     ATTORNEYS FOR PLAINTIFF
                                                     5722 S. Flamingo Road, Ste. 656
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                                                     (954) 212-2184
                                                     (866) 577-0963 fax
                                                     aweisberg@attorneysforconsumers.com
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                                CERTIFICATE OF FILING

         I certify that on May 13th, 2011, I electronically filed the foregoing Motion with

  the clerk of the U.S. District Court using the electronic case filing system of the court.

                         CERTIFICATE OF SERVICE BY MAIL

         I, Alex D. Weisberg, certify that a true and correct copy of the foregoing was

  served upon Delanore, Kemper & Associates, LLC, Attn: Legal Department, 2221

  Peachtree Road, Suite 473, Atlanta, GA 30342, by depositing the same on May 13, 2011,

  in the U.S. Mail in an envelope with first class postage prepaid thereon.




                                                     By: s/ Alex Weisberg
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